    Case 4:17-cv-00994-A Document 16 Filed 03/28/18             Page 1 of 9 PageID 84
                                                                      NORTU.S. DlSTRl T C URI
                                                                             HERNfiLWflOF   TEXAS
                     IN THE UNITED STATES DISTRICT COU T
                     FOR THE NORTHERN DISTRICT OF TE   S
                             FORT WORTH DIVISION                               MAR 2 8 2018

STANDARD INSURANCE COMPANY, §
                            §
     Plaintiff,             §
                            §
v.                          §                          C.A. NO. 4:17-cv-994-A
                            §
PHILLIP A. BOWLAND,         §
                            §
     Defendant.             §

            PLAINTIFF'S REQUEST FOR CLERK'S ENTRY OF DEFAULT

      Plaintiff Standard Insurance Company ("Standard"), pursuant to Federal Rule of

Civil Procedure 55( a), submits to the Clerk of the Court this Request for Clerk's Entry of

Default ("Request") against Defendant Phillip A. Bowland ("Defendant"), and states:

                       GROUNDS FOR ENTRY OF DEFAULT

       When a party against whom a judgment for affirmative relief is sought has failed to

plead or otherwise defend, and that failure is shown by affidavit, the clerk must enter the

party's default. FED. R. C!V. P. 55(a). As set forth in the Declaration ofRyan K. McComber,

attached hereto as Exhibit "A" and incorporated herein for all purposes, entry of default

against Defendant is appropriate for the following reasons:

       1.      On December 14, 2017, Standard filed its Original Complaint (Dkt. 1), in

which it sought adjudication that Defendant's long-term disability insurance coverage

under group long-term disability insurance policy no. 649087-C be cancelled and rescinded

and held by the Court to be null and void as of the date of its issuance due to material

misrepresentations on the application, as well as its attorneys' fees and court costs.



PLAINTIFF'S REQUEST FOR CLERK'S ENTRY OF DEFAULT- Page I
    Case 4:17-cv-00994-A Document 16 Filed 03/28/18          Page 2 of 9 PageID 85



      2.     On January 20, 2018, Standard served copies of the Original Complaint and

the Summons on Defendant by hand delivery through a process server (Dkt. 14; Dkt. 10),

and he has not yet entered an appearance in this action or answered Standard's Complaint.

                   PROPOSED FORM OF ENTRY OF DEFAULT

      Pursuant to Local Rule 55.3, Standard submits contemporaneously herewith a

proposed form of entry of default, which is attached hereto as Exhibit "B."

                                 RELIEF REQUESTED

      For all the foregoing reasons, Standard respectfully requests that the Clerk of the

Court enter default against the Defendant in this matter.



Dated: March 27, 2018



                                                RyanK.        om er
                                                State Bar No. 24041428
                                                ryan.mccomber@figdav.com
                                                Cameron E. Jean
                                                State Bar No. 24097883
                                                Cameron. jean@figdav .com

                                          Figari +Davenport, LLP
                                          901 Main Street, Suite 3400
                                          Dallas, Texas 75202-3796
                                          (214) 939-2000- telephone
                                          (214) 939-2090- facsimile

                                          ATTORNEYS FOR PLAINTIFF




PLAINTIFF'S REQUEST FOR CLERK'S ENTRY OF DEFAULT- Page 2
    Case 4:17-cv-00994-A Document 16 Filed 03/28/18             Page 3 of 9 PageID 86

                                                                                 EXHIBIT A
                       IN THE UNITED STATES DISTRlCT COURT
                       FOR THE NORTHERN DISTRlCT OF TEXAS
                               FORT WORTH DIVISION

STANDARD INSURANCE COMPANY, §
                            §
    Plaintiff,              §
                            §
v.                          §                           C.A. NO. 4:17-cv-994-A
                                               §
PHILLIP A. BOWLAND,                            §
                                               §
       Defendant.                              §

                       DECLARATION OF RYAN K. MCCOMBER

       I.        My name is Ryan K. McComber. I am a partner in the Dallas, Texas law firm

ofFigari +Davenport, LLP ("Figari +Davenport"). I am one of the attorneys representing

Plaintiff Standard Insurance Company ("Standard") in this action. By virtue of my

experience as a lawyer and my representation of Standard in this case, I have personal

knowledge of the facts stated below, and they are all true and correct.

       2.        On January 20, 2018, Standard served copies of the Original Complaint and

the Summons on Defendant Phillip A. Bowland ("Defendant") by hand delivery through a

process server (Dkt. 14; Dkt. 10), and he has not yet entered an appearance in this action.

       3.        As set forth in the Declaration of Stephanie A. Young, RP, which is attached

hereto as Exhibit "1" and incorporated herein by reference, Defendant is not on active

military duty.

       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.



DECLARATION OF RYAN    K. MCCOMBER- Page 1
   Case 4:17-cv-00994-A Document 16 Filed 03/28/18   Page 4 of 9 PageID 87



      EXECUTED on this 27th day of March, 201




DECLARATION OF RYAN K. MCCOMBER- Page 2
   Case 4:17-cv-00994-A Document 16 Filed 03/28/18             Page 5 of 9 PageID 88

                                                                                  EXHIBIT 1
                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

STANDARD INSURANCE COMPANY, §
                            §
     Plaintiff,             §
                            §
v.                          §                         C.A. NO. 4:17-cv-994-A
                            §
PHILLIP A. BOWLAND,         §
                            §
     Defendant.             §

                 DECLARATION OF STEPHANIE A. YOUNG, RP

       1.    My name is Stephanie A. Young, RP. I am over 18 years of age, of sound

mind, capable of making this declaration, and personally acquainted with the facts stated

herein. The facts and statements contained in this declaration are made on the basis of my

personal knowledge and are true and correct.

       2.     I am a paralegal with Figari + Davenport, L.L.P. In that capacity, I

investigated the facts below.

       3.     On March 27, 2018, I ran the name Phillip A. Bowland with his social

security number through the Servicemembers Civil Relief Act ("SCRA") web site for

military verification, which is run by the Department of Defense, for the purpose of

identifying individuals who are protected from suit by reason of their current service

posting in the United States Military, Reserve, and Guard. According to that site,

Phillip A. Bowland is not on active military duty.

       4.     Attached to this Declaration is a true and correct copy of the SCRA

Certification verifying that Phillip A. Bowland is not on active military duty.


DECLARATION OF STEPHANIE A. YOUNG, RP- Page I
    Case 4:17-cv-00994-A Document 16 Filed 03/28/18         Page 6 of 9 PageID 89



       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

       EXECUTED on this 27th day of March, 2018.




DECLARATION OF STEPHANIE A. YOUNG. RP- Page 2
                       Case 4:17-cv-00994-A Document 16 Filed 03/28/18                                                                                      Page 7 of 9 Results
                                                                                                                                                                          PageID            90
Department of Defense Manpower Data Center                                                                                                                                      as of: Mar-27-2018 01:53:26 PM

                                                                                                                                                                                                               SCRA 4.4




                                      Status Report
                                      Pursuant to Servicemembers Civil Relief Act

SSN:                                     XXX-XX-5926
Birth Date:
Last Name:                                BOWLAND
First Name:                              PHILLIP
Middle Name:
Status As Of:                            Mar-27 -2018
Certificate ID:                          W4CXX7XWRQ2NRZS

    ··.        .. ·                                                                        On Acllva Duty On Active Duty Status Data
                                      . ······
                     ActivO Duty Start Date                I              AcHva Duty End Date                   I                       ~latus
                                                                                                                                                                        I              Service Component   .


                               NA                          I                        NA . ·.·.•.                 I                         No        .• ..               I                     NA
                                                                This raspoflSa reflects the individuals' active duty sta!Us based on the Actlve Duty Status Date
                                                                                      ·.



          ·   ..                                       .
                                                                                 Left Active Duty Within 367 Days of Active Duty Status Data                                       .


                      Active Duty Start Date               I              Acl!va Duty End Date                 I                        Status                          I              Service Component
                               NA                          I                        NA                   . ·.. I                           No                           I                     NA
                                                   This respor~se reflects whBre !he Individual left active dutY status Within 367 days precadlngthEi Acllva Duty Status Date

                                                                                     .·.                              ·.·.      .               .

                                                                                                                                                       ••
                                                           The Member or His/Her. Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date
                   Order Notifica11on Start Date           I           Order Nomlca1Jon End Date                 I                      Sta1us                          I              Service Component
                               NA                          I                        NA      .                   .I                         No                           I                     NA
                                                      This response rofiects whether the lm!JvlduaLor his/her unit has received early',nollftcaUon to report lor active duty
                                                                                                                 ·.
                                                                                                                             ....
Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense ~ Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
            Case 4:17-cv-00994-A Document 16 Filed 03/28/18                                                 Page 8 of 9 PageID 91
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.

The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (033) via this URL: https://scra.dmdc.osd.mil/faq.xhtmi#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App.? 521(c).

This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101 (d) ( 1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. AU Active Guard Reserve (AGR) members must be assigned against an authorized mobillzation position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Rese!Ve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Se!Vice member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration {NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate, SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC? 101{d)(1 ).

Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.

Those who could rely on thls certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Se!Vice members under the SCRA
are protected

WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
     Case 4:17-cv-00994-A Document 16 Filed 03/28/18 Page 9 of 9 PageID 92
                         UNITED STATES DISTRICT COURT              EXHIBITB
                          NORTHERN DISTRICT OF TEXAS

 STANDARD INSURANCE
 COMPANY,


                                                       4:17 -cv-994-A
v.                                           Civil No. _ _ _ _ _ _ _ __
 PHILLIP A. BOWLAND




                                CLERK'S ENTRY OF DEFAULT


         On this           day of_ _ _ _ _ _ _, 20 ~.it appearing from the affidavit(s)

in support of default of    Ryan K. McComber               , attorney for plaintiff, that each of the

defendants named below has failed to plead or otherwise defend herein as provided by the Federal

Rules of Civil Procedure;

         Now, therefore, the DEFAULT of each of the following named defendants is hereby entered:
          Phillip A. Bowland




                                                     By:=----=~--------­
                                                         Deputy Clerk

p:\DFLT.ord
